Case 2:14-cv-02490-ROS Document 173-5 Filed 07/07/17 Page 1 of 9




EXHIBIT 14
                Case 2:14-cv-02490-ROS Document 173-5 Filed 07/07/17 Page 2 of 9

  ~~9~~
 ~        ~~o                                        UNITED STATES
                               SECURITIES AND EXCHANGE COMMISSION
  ~     ~°`                                   WASHINGTON, D.C. 20549
   .~~~.


  OFFICE OF THE                                                         ~7
GENERAL COUNSEL                                        March 28~ ZOI /

      Via Electronic Mail

      Jordan Susman, Esq.
      Hardner Mirell &Abrams LLP
      132 S. Rodeo Dr., 4`" Fl.
      Beverly Hills, CA 90212


                Re:     Subpoena issued in re: John Hurry et al. v. Financial Industry Regulatory
                        Authority, Inc., No. 14-cv-02490-PHX-ROS(D. Ariz.)

      Dear Mr. Susman:

              We have received your March 9, 20171etter responding to our request for additional
      information concerning your subpoena seeking a deposition from a person the Securities and
      Exchange Commission("Commission" or "SEC")designates to testify on its behalf and
      documents related to communications with William Meagher, a reporter.~ The Commission is
      not a party to this private civil litigation.

              In your response, you assert that "the deposition ofthe SEC seeks to establish that the
      SEC was not the source of any leaks to Mr. Meagher, which would buttress Plaintiff's argument
      that the source had to be from within FINRA." You also explain that providing testimony would
      not vitiate any privileges because your focus would be on whether the SEC or FINRA leaked any
      information to Mr. Meagher and not on any investigation that may relate to Mr. Hurry.

              Authorizing the testimony you request is contrary to the public interest—and not required
      by Rule 45 ofthe Federal Rules of Civil Procedure—because any testimony regarding the source
      of any leak would be protected by the law enforcement privilege. The law enforcement privilege
      is designed "to prevent disclosure oflaw enforcement techniques and procedures, to preserve the
      confidentiality of sources, to protect witness and law enforcement personnel, to safeguard the
      privacy ofindividuals involved in an investigation, and otherwise to prevent interference with an
      investigation." Hemstreet v. Duncan,2007 WL 4287602, at *2(D. Oregon 2007)(quoting In re
      Dept ofInvestigation ofCity ofNew York, 856 F.2d 481,484(2d Cir. 1988)). That privilege
      applies here because the SEC's Office of Inspector General("OIG")has an ongoing
      investigation relating to whether Mr. Meagher received non-public information from the SEC.
      Disclosure of information about what the OIG has found or determined could interfere with the
      OIG's ongoing investigation by revealing what information the OIG does and does not have


      '        In a letter dated February 28, 2017, pursuant to applicable agency regulations, Senior Counsel Carin Cozza
      requested that you provide additional information to clarify the intended scope oftestimony you seek and its
      anticipated relevance to your litigation.
       Case 2:14-cv-02490-ROS Document 173-5 Filed 07/07/17 Page 3 of 9




before it finishes gathering information. If that information is revealed, persons from whom the
OIG gathers information could be less forthcoming or provide misleading information.

         The documents you seek are also protected by the law enforcement privilege to the extent
"they would be obtained from the OIG. We have, however, searched for responsive documents in
the SEC's Division of Enforcement, including a search ofthe SEC's email database. We did not
 locate any documents responsive to items 1 through 4 and 6 in your document request. With
 respect to items 5 and 7, we have identified six emails that contain brief speculations about the
 source of Meagher's information that may be responsive. All six documents are protected by the
 work product doctrine, and three are also protected by the deliberative process privilege. Thus,
 we also object to providing these documents in response to the Subpoena.

       Although the law enforcement and deliberative process privileges and the work product
doctrine are qualified privileges that can be overcome if a litigant's need for the privileged
information is greater than the public interest in nondisclosure, Hemstreet, 2007 WL 4287602, at
*2, you have not shown any such need here. Indeed, because the OIG investigation is not
complete, the SEC is not in a position to provide a witness to testify that the SEC was not the
source of any leak that may have occurred.

       Thus, in accordance with Rule 45(d)(3)(A)ofthe Federal Rules of Civil Procedure,
which states that courts are required to quash or modify subpoenas that seek privileged matter,
we are not authorizing any testimony or document production pursuant to your subpoena.

       You may appeal this decision to the Commission pursuant to the procedures set for in 17
C.F.R. 201.430(b). See In re SEC ex rel. Glotzer, 374 F.3d 184, 192(2d Cir. 2004). If you have
any questions, please contact Carin Cozza at 202-551-7958.

                                      For the Comission pursuant
                                          ~ %~, to dele ated authority,
                                             I~~/~~
                                          ~: ~
                                                 .,`

                                      Richard M. Humes
                                      Associate General Counsel
Case 2:14-cv-02490-ROS Document 173-5 Filed 07/07/17 Page 4 of 9




EXHIBIT 15
               Case 2:14-cv-02490-ROS Document 173-5 Filed 07/07/17 Page 5 of 9


 Case           FINRA

 Issue Code     MSJ EXHIBIT




 CONDON, NANCY 2/22/17 VOL 1
 1       112:08 - 112:18     112:08           Q.   Do you -- just as a general matter, do
                                  09   you have any regular communications or contacts at
                                  10   the SEC whom you speak to?
                                  11          A.   No.
                                  12          Q.   So if you had received a call or an
                                  13   e-mail from the SEC accusing FINRA of leaking this
                                  14   information, you would remember it, wouldn't you?
                                  15          A.   I have never --
                                  16                       MR. DAVIS:     Object to form.
                                  17                       THE WITNESS:     I have never
                                  18   received such an e-mail or a call.




Created with TranscriptPad for iPad                                                         Page 1 of 1
                                                         6/30/17
Case 2:14-cv-02490-ROS Document 173-5 Filed 07/07/17 Page 6 of 9




EXHIBIT 16
               Case 2:14-cv-02490-ROS Document 173-5 Filed 07/07/17 Page 7 of 9


 Case           FINRA

 Issue Code     MSJ EXHIBIT




 COOK, CHRISTOPHER 2/23/17 VOL 1
 1       051:15 - 052:01     051:15         Q.    Did you ever request that the SEC provide
                                  16   you with any information from their internal
                                  17   investigations regarding a leak?
                                  18        A.    I believe at the on-site meeting they said
                                  19   if they found something, they might share it with us.
                                  20   But that's a hazy recollection.
                                  21        Q.    And then they never shared anything with
                                  22   you that they found?
                             052:01         A.    Correct.




Created with TranscriptPad for iPad                                                            Page 1 of 1
                                                      6/30/17
Case 2:14-cv-02490-ROS Document 173-5 Filed 07/07/17 Page 8 of 9




EXHIBIT 17
               Case 2:14-cv-02490-ROS Document 173-5 Filed 07/07/17 Page 9 of 9


 Case           FINRA

 Issue Code     MSJ EXHIBIT




 FOSTER, CINDY 2/23/17 VOL 1
 1       061:18 - 061:21     061:18         Q.    Okay.     Did you ever receive any report
                                  19   from the SEC stating any conclusions regarding an
                                  20   investigation of leaks?
                                  21        A.    No.




Created with TranscriptPad for iPad                                                           Page 1 of 1
                                                          7/7/17
